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                                                                                  E-FILED
                                                  Friday, 04 December, 2020 11:47:29 AM
                                                             Clerk, U.S. District Court, ILCD

               IN THE UNITED STATES DISTRICT COURT
                   CENTRAL DISTRICT OF ILLINOIS

  AARON O’NEAL,                       )
                                      )
  Plaintiff,                          )
                                      )
     v.                               )       18-CV-4063
                                      )
  MANUEL ROJAS, et al.,               )
                                      )
  Defendants.                         )

                                  ORDER

  SUE E. MYERSCOUGH, U.S. DISTRICT JUDGE.

    Plaintiff, proceeding pro se from his incarceration in Hill

Correctional Center, proceeds on claims under the First

Amendment, the Equal Protection Clause, and the Religious Land

Use and Institutionalized Persons Act, 42 U.S.C. § 2000cc-1(a)

(RLUIPA). The claims arise from the denial of meatless meals on

Fridays during Lent and alleged retaliation for Plaintiff’s challenge

to that denial. The case is at the summary judgment stage.

     As explained in more detail below, summary judgment is

granted to Defendants Rodriguez and LaHood, who are not state

actors, and to Defendant Britton, who did not have the authority as

the food supervisor to decide which inmates received religious


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meals. Summary judgment is also granted on the RLUIPA claim

because Plaintiff’s claim for injunctive relief is moot. Plaintiff is now

receiving meatless meals during Lent. Summary judgment in

otherwise denied.

                                  Analysis

     Plaintiff maintains that he and other Catholic inmates were

denied meatless meals on Fridays during Lent from the time

Plaintiff arrived at Hill Correctional Center in 2005 until 2020.

Plaintiff asserts that he repeatedly asked Defendant Rojas for

meatless meals on Fridays during Lent and complained to other

prison officials. In February or early March 2016, Plaintiff again

spoke to Defendant Rojas about the issue, and, according to

Plaintiff, Defendant Rojas became irate. Shortly thereafter,

Defendant Rojas removed Plaintiff from the list of inmates invited to

participate in an annual religious retreat for Catholics and

Christians and the follow-up services held monthly based on that

annual retreat. Defendant Rojas retired in 2018. Sometime in

2019, fish was provided on Fridays for one meal, but meat was

provided for at least one of the other two meals. In 2020, meatless

meals have been provided for all three meals during Lent.
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     Money damages are not available under RLUIPA. Grayson v.

Schuler, 666 F.3d 450, 451 (7th Cir. 2012). Injunctive relief is

available under RLUIPA, but Plaintiff’s claims for injunctive relief

are moot because Plaintiff is now receiving meatless meals for all

meals on Fridays during Lent. Plaintiff appears to now seek

meatless meals every Friday, even outside of Lent [132, p. 10.], but

that claim is not a part of this case. Plaintiff must exhaust the

grievance procedure and file a new case about that claim. The

RLUIPA claim is dismissed.

     Defendants Rodriguez and LaHood are also dismissed. They

are volunteers from the Peoria Diocese’s prison ministry program.

Neither is a government actor, and neither has any authority to

decide which inmates are permitted to attend services or receive

religious meals. See Wilson v. Warren County, 830 F.3d 464 (7th

Cir. 2019); Rodriguez and LaHood Affidavits, d/e 108-2. Similarly,

Defendant Britton is dismissed because, though Defendant Britton

was a government actor, he did not have the authority to determine

which inmates received religious diets.

     Turning to the First Amendment religious practice claim

against the remaining defendants, that claim requires evidence of
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an unjustified and substantial burden on Plaintiff’s ability to

practice his religion. Thompson v. Holm, 809 F.3d 376, 379 (7 th

Cir. 2016). Forcing an inmate to choose between following his

religious beliefs and receiving adequate nutrition is a substantial

burden. Id. at 380 (7th Cir. 2016)(“We have repeatedly held that

forcing an inmate to choose between daily nutrition and religious

practice is a substantial burden.”)

     Defendants argue that Plaintiff did not have to make that

choice because Plaintiff testified that he lost only around five

pounds and has no evidence of malnutrition. Defendants cite

Nelson v. Miller, 570 F.3d 868, 879 (7th Cir.2009), where a dietitian

averred that the inmate’s nutritional needs would still met by the

regular meals even if the kind of meat prohibited by the inmate’s

religion, the meat of four-legged animals, was not eaten. Nelson,

570 F.3d at 870 (7th Cir. 2009), abrogated on other grounds as

recognized by Jones v. Carter, 915 F.3d 1147, 1149 (7th Cir. 2019).

     Unlike Nelson, in this case Defendants provide no dietitian's

affidavit. Further, Plaintiff asserts in his affidavit that, if meat was

on the plate on Fridays during Lent, Plaintiff believed the entire

plate was rendered inedible from a religious perspective. Whether
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Plaintiff lost weight is relevant to damages but not conclusive of the

nutritional adequacy of the meals. That Plaintiff could buy food

twice a month from the commissary is also relevant but not

dispositive. See Jones v. Carter, 915 F.3d 1147, 1150 (7th Cir.

2019)(denial of Halal diet with meat was substantial burden under

RLUIPA even if inmate could buy meat from commissary)(“The state

is in effect demanding that Jones, uniquely among all inmates, zero

out his account and forgo purchasing other items such as hygiene

products or over-the-counter medicine, if he wants to avoid a diet

that violates his religious beliefs.”)

      Defendant Rojas avers that his understanding from

discussions with the volunteer Deacons was that Lent is about

giving something up, not necessarily giving up food. Defendant

Rojas also understood from these discussions that Catholic officials

would consider Plaintiff exempt from avoiding meat during Lent.

Based on these conversations, Defendant Rojas concluded that

Plaintiff did not have to avoid meat on Fridays during Lent in order

for Plaintiff to be true to Plaintiff’s religion.

      However, neither the prison Chaplain nor even an official

representative of the Catholic Church may decide what the Catholic
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religion means to Plaintiff. That is Plaintiff’s decision. See Neely-

Bey Tarik-El v. Conley, 912 F.3d 989 (7th Cir. 2019)(religious

request cannot be denied on basis that the request is not officially

required by the religion)(discussing other cases). Nothing in the

record challenges the sincerity of Plaintiff’s personal religious belief

that he should not eat meat on Fridays during Lent.

     The defendants who played a part in denying Plaintiff’s

grievance argue that they were not personally responsible.

Typically, denying a grievance about an employee’s misconduct is

not enough for personal responsibility, particularly when the

grievance is about past misconduct and where facts are disputed.

Here, however, the denial was about ongoing conduct and did not

involve a credibility determination. Defendant Rojas’ reason for

denying the religious diet was set forth in the grievance response

and was arguably plainly contrary to long-established law. The

response by the grievance officer, Defendant Gans, states:

     . . . Chaplain Rojas stated that Deacon Joe LaHood,
     Prison Ministry Coordinator for the Archdiocese of Peoria,
     explained to him that [L]ent is an observance about
     giving up something that is important, but not
     necessarily food. The abstention from red meat is a
     tradition, but Lent is not a sacrament and we don’t
     disallow the observance. He added that Dietary offers
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     fish on Fridays out of penological interests . . . [d/e 121-
     6 p. 3.]

     This response is admissible for the nonhearsay purpose

of showing why Defendant Rojas denied Plaintiff’s request:

Defendant Rojas believed that Catholics do not need to abstain

from eating meat on Fridays during Lent. As discussed above,

federal law in this context precludes others from deciding an

individual’s personal religious beliefs. Further, Defendant

Gans found the grievance moot, but the grievance was not

moot because Plaintiff was still seeking meatless meals on

Fridays during Lent. A reasonable juror could find that the

defendants handling the grievance personally participated in

allowing the violation of Plaintiff’s religious rights by

Defendant Rojas to continue. The First Amendment religious

practice claim survives summary judgment as to Defendants

Rojas, Dorethy, Frost, Gans, Phoenix (Pelker), and Baldwin.

     There is also a Fourteenth Amendment equal protection

claim based on the denial of meatless meals on Fridays during

Lent. This claim is not well developed from either side.

Plaintiff asserts that other religions received meals for religious


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events while Catholics did not, and Defendants do not dispute

that assertion. Defendants contend that no inference of

discriminatory intent arises, but the Court cannot tell how

other religions were treated with regard to meal requests.

Summary judgment is denied on the Fourteenth Amendment

claim as to Defendants Rojas, Dorethy, Frost, Gans, Phoenix

(Pelker), and Baldwin.

     Summary judgment is also denied to Defendant Rojas on

Plaintiff’s First Amendment retaliation claim. A reasonable

inference arises from Plaintiff’s testimony that Defendant

Rojas excluded Plaintiff from the retreat and service(s) because

of Plaintiff’s complaints about the meals. Defendant Rojas

asserts that the exclusion was for space limitations, but

Defendant Rojas does not offer a list of participants who were

allowed to attend, nor does Defendant Rojas address Plaintiff’s

assertion that inmates who were not Christian or Catholic

were allowed to attend over Plaintiff. The retaliation claim

proceeds against Defendant Rojas only.

     The Court agrees with Defendants that Plaintiff has no

evidence that he suffered a physical injury, which precludes
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compensatory damages for mental or emotional injury. 42

U.S.C. § 1997e(e). However, a reasonable inference to support

punitive damages cannot be ruled out. Finally, Defendants

argue for qualified immunity, but that argument depends on

construing factual inferences in Defendants’ favor, which the

Court cannot do.

      IT IS ORDERED:

     (1) The motion for summary judgment by Defendants

Rodriguez and LaHood is granted. [108.]

     (2) Plaintiff’s motion for summary judgment is denied.

[106.]

     (3) The motion for summary judgment by Defendants

Baldwin, et al., is granted as to Defendant Britton and denied

as to the remaining Defendants.

     (4) The clerk is directed to terminate Defendants

Rodriguez, LaHood, and Britton.

     (5) This case is referred to the Magistrate Judge to hold a

settlement conference. If no settlement is reached, final

pretrial and trial dates will be set.

  ENTERED: 12/4/2020
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                       s/Sue E. Myerscough
                       SUE E. MYERSCOUGH
                       U.S. DISTRICT JUDGE




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